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1. Divorce without Agreement Attached ll. URESA

2. Divorce with Agreement Attsched ' 12. Name Chauge
3. I)omestic Relatlous 13. Other

4. , .»_’ Damages arising out of Contract 14. Recusal '

5. Damages arising out of Tort

6. Condemnution - _

7. _Equity Adoption

8. Zoning- -Cunnty Ordinance violations (i. e. Injunetive relief- zoniug) ' ‘

9. ______Zoning Appeals (denovo)

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U._“__ Appeal, Ineludlng denovo_ appeal-excluding Zoning

PREVIOUS RELATED CASES

Does this ease involve substantially the same parties, or substantially the same subject matter, 01' substantially the same factual
issues, as any other case filed' m this court? (Whether pending simultaneously or not.)

 

 

 

./NO
YES - If yes please fill out the i`ollowing:

1. Case #
2, Parties vs.
3. Assigned Judge
4. ls this case still pending? Yes ' No
5. Briel' description of similarities

Form #0122

Revised 12401/09

 

 

'M.u; . '“*“" "

IN THE »SUPEl{.IOR COURT fill COBB COUN'IY
_\ ' STATE DF GEORGIA

DANA L. CASELLI

Plsinss,
clvn, ACTION No. //'"' / " 3@3 / ” 53

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SOLUTIONS, LLC, end

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MQCALLA RAYMER,LLC 44§&§’ 33 ‘;?.`JF""
23 --»2 er 444
Defendents. . §§ 415

SUMMONS

TO 'l`HE AB DVE NAM..ED DEFENDANTS:

You are hereby summoned end required to file with the Clerl; of said court and serve
upon the Pleintil"f‘s sitorciey, whose name end address is:

Brian M. Annino, Esq.

Neil C. l_,igon, Esq,

Annino & Ligon, LLC

707 Whitlock Ave., Suite I-I-13
Msriette, GA 30064

en answer to the complaint Whieh is herewith seis/ed upon you, within 30 days after service of
this simmons upon you, exclusive of the day of servieo, Ii` you fail to do so, judgment by default
Will be taken against you for the relief demanded in the complaint

 

This 15"‘ say sf.spsl, 2011.

JAY C. STEPHBNSON,

1332

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(Clerlc)

Clerk of SUC@F
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Generel Civil Case Filing' Infortnstion Form`_‘(Non-Demestic)

 

 

 

 

 

 

 

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0RDER RULE NISI

 

It' ts hereby ordered that each of the parties be atld appear before the
Honorable Judge Q\DC\ \'{:b M of the Superior Court, Cobb Judieia! - m n
circuiwnthe 'L day of W\Lu;\ 7 ,_20 \\ ,at F_’) 20
o ’elock ;Er_.m , Superior Cottrt Bui_lding, Mm)~ietta, Georgia to show eause, if 'any,_ __ -
why the prayers of the within complaint should not be gmnted. ' ' l

so ordered,'rhis \S day of "Qt‘_o\€l<]\

 

  

 

Clerk, |.'Jc_)bl ;Supet'ior Cddre r- '
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Presented by:

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Attorney for qamwg

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IN THE SUPERIOR COURT OF CC|BB COUNTY
- STA’I‘E OF GEORGIA U§.C

DANA L' CASELLI § merit et dupargorsgoeg?§“§ggb tlt:y. Ba.
Plaintiff, ) d
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MQCALLA RAYMER, LLc )
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Deiendants. )
Lis PENDENS No'rlce
re WHoM rrMAY coNcsRN:

'I`he above-styled action was filed on the 14“‘ day oi`Aprii, 2011, in the Superior Court of

Cobb County, Georgia and being currently pending, the Plaintif’t', Dana L. Caselli, files this Lis

Pendens Notiee that the above suit concerns, in part, the improved real property described below:

Ati that tract or pareei of land lying and being in lend L01;922 ot` the 17“‘ District, 2“°‘. Seetion,
Cobb County, Georgia, and being identitied and depicted as Unit No. 1306 hereafter sometimes
referred to as the “Unit” oi’ Wynne’s Ridge, n Condom'inium, together With all riglit, title and
interest of Grantor in said Unit and the appurtenances thereto under that contain Declaration of
Condominium for Wynne’s Ridge, a Condominium, recorded in Deed Book 2501, Pnge 240,
Ot"iice of the Clerk of Supe1ior Conrt of Cobb County, Georgia, as amended (said Deelaration
together with all exhibits thereto and amendments thereto and as may be amended from time to
time hereaftet being refe1red to as the “I.`>ec|aration”). 'i‘he interest herein conveyed ineludes,
without limiting the generality of the foregoingl the undivided percentage interest in the common
elements of Wynne’s Ridge, a Condominium appurtenant to the Unit, as the same is specified in
the Deolaration.

This conveyance is exp1essly made subject to the following matters: the aforesaid Dec|ar alton of
Condominium for Wynne’ s Ridge, a Condominium, as may have been nmended; Basement and
Agrce111e11t1eeorded in Deed Book 2458 Page 127, aforesaid reoor;ds Service Acoess Agreement

With Marietta Cab|e T.V. dated September 4, 1981; Rig`ht-ot`-Way `Deed to Col)b County,
recorded in Deed Book 234”1`, Page 396, aforesaid records; Deelaration oi` Cross `Easements for
Certain Common _Facilities recorded in Deed BookZSOi, Page 229, aforesaid records; matters
disclosed by the As~Built Survey for Wynne's .Ridge, a Condorninium by Planners and Engineers
Co]laborative dated December 22, 1981, as last revised; governmental laws, ordinances, rules and
regulations including without limitation zoning restrictions; and the lien ol` ad valorem taxes not

yet due and payable

Address: 1306 Wymie’s Ridge Cirele
Marietta, GA 30067

This Lis Pende'ns Notice has been filed and recorded as provided by law.

ring 15"' day or nprn, 201 1.

rra/gem

Neii Ligdn, 'Esq`.M/

Georgia Bar No. 141663
Brian M. Annino, Esq.
Georgia Bar No. 841250
Annino & Ligon, LLC

?O'." Wbitlock Ave, Suite I-113
l~/Iarietta1 GA 30064

Tel. (404) 934-5973

Fax (404) 631-6289

Attorneys for the Piaintiff

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IN THE SUPERIOR COURT OF COBB fgCOUl§c'

STATE OF GEORGIA Cm.\$‘t Rll.l § \"|U. .§?hg::g§;§g;:l?l"'t£‘l£i*k»CDI

lay
Clerit of Superi.or Court Cobb Cnnnty¢\s ,

DANA L. CASELLI, * CIVIL ACTION FILE NUMBER
* 11-1-3631-33
Plaintift`
vs. *

PHH MORTGAGE CORPORATION, *
dfb/a COLDWELL BANKER MORTGAGE,
a/k/a PHH MORTGAGE SERVICES, *
BANK OF AMERICA, N.A., PROMMIS
SOLUTIONS, LLC, and MCCALLA *
RAYMER, LLC

Defendants.

SHOW CAUSE ANI) RULE NISI ORDER

'l`he above-styled case I set by Rule Nisi for hearing before the assigned Judge,
lodge Jarnes G. Bodiford, on Monday, May Z“d, 2011 at 8:30 a.m. In the event the case is
not reached by Judge Bodiford on that date, it is hereby ordered that each of the parties be
and appear before Presiding Senior Judge Michael Stoddard of the Superior Court of
Cobb County on the an day of May, 2011, at 4:00 o’clock p.m., in Courtroom “M”, 4th
Flocr, Cobb Superior Court South Building, to show cause, if any, why the prayers of the
within Emergency Mot:ion For Temporary Restraining Order should not be granted

The question of whether there is an emergency is reserved for the Senior Judge
presiding over this rule nisi.

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soonDEREr)rats /?J dany Aq?\-.~l ,2011.

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WATSON L. WHITE
SENIOR JUDGE, STATE OF GEORGIA
PRESIDING I`N COBB SUPERIOR COURT

 

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`PHH MORTGAGE coRPORAnoN :" CABE NO':- 11'1'3631'33 - l
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_ Defendant. :

`OFS

COMES NOW, BRU_CB R SM}TH ]R., a United Statee citizen and ovei_' the age of 13 jears, j

§ before the undersigned officer duly authorized to administer oatha, and, being sworn on oath
j deposes and states as follows: ' `

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t 1.

I served PHH MORTGAGE CORPORAI`I'ON dba COLDWELL, etc With the below-listed doeurnenw in this
matter,` m the below~described manner, _

at 40 TECHNOLOGY PKWY S, 300 NORCROSS, GA 30092,
on .April 20, 2011 at 1: 15 PM:

SUMMONS/ COMPLAINT/ LIS PENDENS/ RULE NISI 1 '

Said documents Were served by handing to SARA CI-IEN, CSC _Process Speciaiist. '

2.
Ms Chen is authorized to accept the above listed documents on behalf of Corporation Service Company the

Registered Ag'ent for FHI__-I Mortgage Corporation 1

 

  

BRUCER. SMITH]R. _ 7
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vs. _ r_ 1 g n CIVILACTION ' - -
PHH MORTGAGE CORPORATION, f CASE NO" 11`1'3631"'33
etc., et el. -l
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Defendant. _ :
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-COMES NOW, B~_RUCE R. S'MITH JR. ., a _United States citizen -a`nd over the age of 18 years,`_,

before the undersigned officer duly authorized to administer oaths, and, being sworn on' oath z j '

deposes and states as follows: _
_ . 1. `
I served BANK OF AMBRCIA CORPORATION, eto With the below-listed documents in this matt_¢r,' m the
below-described manner, a

at 1201 PEACI'I'I'REE ST NB,' ATLANTA, GA'30361,

onAp1-1119,>2011,ar 1:10 PM= h _ _
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- s`aid documents were served by handing to sHAI<n\iAH EDWARDS,'QT c§rp..Pmeess_spm§iim.; " ` `

 

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Attorneys Pei*eoiial Sei'vic:es, h 1

 

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before me this the 20th day §§
of April, 2011. § m - ‘

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PHH MORTGAGE coRPoRATION, ',' CASE NO'_: 11'1'3631533
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Defmdant. ' ` § 1

COMES NOW, BRUCE R. SMITH ]R. ., a United States citizen and over the age of 18 years,

before the undersigned officer duly authorized to administer oaths, and, being sworn 611 oath
h deposes and states as follows:

I served MCCAL[A RAYMER, LLC with the below-iisted documents in this matter,' 111 the beiow-desmbed
manner,

'at 6 CONCOURSE PKWY, 3200, A'I'LAN'I`A, GA 30328,
on April 21, 2011, at 1:410 PM:

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' Said documents were served by handihg th'LISA ROSE, Partner.

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PHH MORIGAGE cORPORA'HON, § CT‘.’*SE NQ'= 11'1“3631"33 . ‘ _ 1 1
etc., et al. l ~ .-
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. _ 'l '
VDefendant. " :
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COMES NOW, BRUCE R. SMITH ]R. ., a United States citizen and over the age of 18 years,
befose the undersigned officer duly authorized to administer oaths, and,. being sworn on oath
deposes and states ss follows:

1.

_ I served PROMN.[IS SOLUTIONS, LLC with the below-listed documents in this niat'|:er, in the below-described
marmer,

at 3675 CRESTWOOD PKWY, 350, DULUTH, GA 30096,
on April 20, 2011, at 1:45 PM:

SUMMONS/ COMPLAINT/ LIS P.ENDENS/ORDER AND RULE NISI _ ' . l

Said documents were served by handing to DARBY LUI<ASCHUS, Process_Specieliet. ,

2.

Ms Lulcaschus is authorized to accept the above listed documents on behalf of Natienal Registered Agents
lnc. the Registered Agent for Prornmis Solutions, LLC 1 _

 

 

“\.11111,,, BRUCE 11 sMrrH 111

y own A. 005/1, 1 Attorneys’. Personei_ Serviees, 11
- Swom to and subscribed \~- »-...' ,, _

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Enter only one party plaintiff and one party defendant
Create separate list for each submitting party.

 

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MGCALLA RAYMBR, LLo 3 3.. %FW ‘3"" ;ll"*""
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) 3 . § 51 r'f‘\ ga
Defendants. ) _ E§j§"i ;-" **"’
sUMMoNs

TO TI"IE ABOVE NAMED DEFENDANTS:

Yeu are hereby summoned end required to file with the Clerk of said court end serve
upon the Pluintiff`s ettol‘oey, whose name and address is:

Brie.n M. Anniuo, Esq.

Neil C. Ligon, Esq.

Annino & Ligon, LLC

707 Whitloel< Avo,, Suite I~I~IB
I\/Iarietta, GA 30064

en answer to the complaint Whieh is herewith served upon you, Wiflu'n 30 days after serviee of
this summons upon you, exclusive of the day of sorvioe, I'l" you fail to do so, judgment by defaul'c
Will be taken against you for the relief demsnde=:l in the complaint

This 15"‘ day oprril, 2011.

.TAY C. STEPHENSON,

clerk of su ' usf §&m$_g_..., ¢
By.' h

(Clerk)

 

SECOND C>FilG!NAl

IN THE SUPERIOR COURT OF COBB COUNTY

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Defenclants. )

COMPLAINT TU ESTABLISH TITL]L‘ TO LAND FOR BREACH OF CONTRACT
PROMISSORY ESTOPPEL, FRAUD.. AND FOR TEMPORAR‘Y .RESTRAINING
QBI.)ER AND INTERLOCUTORY INJUNCTION

INTRO]DUCTION

 

T his action concerns title to real property (“Property”) located in Cobb County, Georgia,
being more fully described on E>chibit “A,” attached hereto and incorporated herein by reference
PARTIES. .'lUR_lSDl`C'l`ICJ`N. AN`D VENUB
lr This matter concerns title to the Property located in Cobb County, Georgia. 'l"hereforc,'

this Court has the exclusive subject matter jurisdiction to hear this matter iu accordance

with o.c.o.A, § 44-2-60,

2, Venue is proper as to all Defendants in accordance with GA CGNST Art. 6 § 2, 1[11.

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Plainti'ff Dana Caselli (“Plaintil’i"’) resides at 1306 Wynnes Ridge Circle, Marietta, GA

30067, Plaintit`f is a resident of Cobb County and voluntarily submits to the jurisdiction

and venue of this Court.

.Det`endant PHH Mortgage Servioes d/b/a Coldwell Banl<er Mortgage, a/l</a PHH
Mortgage Services (“Defendant PI-IH”) is a foreign corporation conducting business in
Georgia and, in accordance With O.C.G.A. § 14~2~1510, may be served through its
registered agent: Corporation Servioe Cornpany, 40 T-echnology Parlcvvay Scuth, Suite
300, Norcross, GA 30092. Upcn service, Defendant PHH is subject to the jurisdiction
and venue of this Court.

Det`endant Banl< cf America Corporation, d/b/a Banl< of America, N.A. (“Det`endant
BOA”) is named herein solely for a junior lien interest it may hold in the property. Such
lien interest may be a Security Deed in an amount not to exceed $10,000.00 dated nugust
4, 2006, and recorded on August 28, 2006, in Deed Bool< 14379, Page 2323 in the Cobb
County Supericr Ccurt. Det`endant BOA is a foreign corporation conducting business in
Georgia, and, in accordance With O.C.G.A. § 14*2~1510, may be served through its
registered agent: CT Corporation System/Shal<inab Edvvards, 1201 Peachtree Street NE`,,
Atlanta§ GA 30361. Upon service, Defendant BOA is subject to the jurisdiction and
venue of this Court.

De'fendant McCalla Rayrner, l.,l".,C (“Detendant Ml ”) is a Georgia limited liability
company and may be served through its registered agent Marty Stone, 6 Concourse
Parlcway, Suite 3200, Atlanta, GA 30323. Upon serviee, Dei`endant l\/IR. is subject to the

jurisdiction and venue of this Court.

7‘ Det"endant Promrnis Solutions, LLC (“Del"endant PS”) is a Georgia limited liability

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company and may be served through its registered agent: National Register`ed Agents,
-Inc., 3675 Crestvvood Parl<vvay, Suite 350, Duluth, GA 30096, Upon service, Det`endant
PS is subject to the jurisdiction and venue cf this Court.
Jurisdiotion and venue are therefore proper in this Court.

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Plaintift` re~alleges and incorporates by reference paragraphs 1~8 above as ii" fully set

forth in this Count.

10. On or about July 29, 2005, Plainti'ft executed a Promissory Note and Deed to Securc Debt

in favor ot` Coldvvell Banl<er l\/lortgage. Plaintiff is informed and believes that Defendant
PI~Ill-I was doing business as Coldwell Banl<er lviortgage at such time. The Deed to Secure
Debt Was recorded on August 25, 2005 in Deed Boolt 14209, Page 64 in the Cobb County
Superior Court. The Deed tcl Secure Debt is attached hereto as Exhibit “B” and

incorporated herein by reference

ll. On March 16, 2009, Plaintift` lost her job, vvhich substantially altered her iinancial

position As a result, Plaintiff deemed it appropriate to seek a loan modification and

applied to Def"cndant PHH for alcan modification in April o:t` 2009.

12, Det`endant PHH offered Plaintit`f a I~lome At`i"ordable Moditication Trial Perlod Plan

(“Trial Plan”) effective as cf Septernber 1, 2009.

13. Plainti'ft“ completed the necessary Trial Plan documentation on or about August 17, 2009

and transmitted same along with first payment to Det`cndant PHH. Tbe completed and
signed documentation and proof of first payment is attached hereto as Exhibit “C” and

incorporated herein by re'l"erence.

14, Plaintiff continued to make her scheduled Trlal Plan payments throughout the term set
forth in the Trial Plan contract

15. Plaintiff did not receive any explicit Written confirmation that she had entered the Trial
Plan until March 8, 2010 (vvell after she had already completed the 'l`rial Plan). On
March 8, 2010, she received a letter that was dated January 19, 20_10, and which
congratulated her on her acceptance into the Trial Plan. This letter is attached hereto as
Exhibit “D” and incorporated herein by reference

l6. On l\lovernber 17, 2009, Plaintiff received notification from Defendant PHH indicating
that she was eligible for a l~iome Affordable Moditication (“l\/lodiiication”) so long as she
completed the "i`rial Plan. By its terms, the l\/lcdil”icaticn amended certain terms of the
Deed to Secure Debt, but vvhere not specifically amended, the terms of the Deed to
Secure Debt remain in place

17. Plaintiff executed the l\/lodifrcation before a notary at a local Bank of America branch and
transmitted two copies of the Moditication to PHH for delivery on November 30, 2009.
An unsigned copy of the Moditioation contract, with the UPS proof of delivery, is
attached as lExhibit “E,” also incorporated herein by reference fm affidavit from
Plaintl.t`f stating that signed copies cf this document Wcre transmitted in this UPS
pacl<.age, is attached as Exhibit “F,” and also incorporated herein by reference

18. Plaintiff properly made her required 'l`riai Plan and I\/Ioditication payments from the date
her 'l`rial Plan commenced through the December 2010 payment under the Modifrcation,
as is demonstrated by the proof of her payments and tracking information for such

payments attached hereto as E>chiblt “G,” also incorporated herein by reference

19. On Decernber 31, 2009, Defendant PHl-I processed Plaintifi`s scheduled January

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Modr'ticatrcn payment

.In February 2010, when Plaintift`, expecting to receive a nrlly~executed copy of her

Modlficaticn, still lhad not received same from De.t`endant PHH, she contacted them.
When she spoke with them, a Defendant PHH representative instructed her that the

process customarily tool<: a long time, frequently 60 to 90 days, if not longer.

.Plaintiff contacted Defendant PHH again in 1June 2010, and a Defendant PIiI-l

representative advised her of no additional information regarding transmittal of the

Modit`rcation and advised Plaintiff to “checl< hacl<” in two weeks

 

. Det`errdant PHH processed her scheduled June Modit`rcation payments on May 27, 2010,

and her scheduled .luly Modifrcation payment on iune 18, 2010.

Plaintit`f continued to submit her payments as scheduled in the Modifrcaticn, and
Del"endant PIWII-I continued to accept her paymentsl Tlrroughout the months of Octo'oer
and Novcmber, Plaintiff continued to make telephone calls in an attempt to reach
someone to learn why she had not received her copy of the signed Mcdification and to
confirm that no problems had arisen With her Modifrcation. These calls frequently lasted
for prolonged periods of time, often in excess of an hour, but never resulted in her
speaking With a representative who could address her concerns

Dei"endant PHH processed her scheduled October Moditication payment on Septernher
27, 2010, and processed her scheduled I\lovenrber Modil."rcation Paymerrt on October‘ 29,
2010.

In mid~November, Plaintiff received a l\lctice of Intention to Foreclose from Defendant

PI'lI-l. Plaintiff immediately called l.)ei'endant PHl-I’s Loss Mitigation department to

determine what was happening The representative with whom she spoke advised her to
“disregard the notloe," and told her that he was escalating her case and someone would

get in touch within the next 10~14 days

26. By letter dated Novernber 30, 420] 0, attached as Exhibit “H” and incorporated herein by

reference, Defendant PHH advised Plaintiff that her scheduled Deoember 2010 payment

dated Novetnl)er 22, 2010, was being returned because “insut`tioient amount to clear

default" {sic], and incorrectly advised her that her loan was due for the Septeinber l,

2009 paymentl

2'7. Upon receipt oi" the above referenced letter in Decernber of 2010, Plaintiff promptly

called Defendant PHH to determine the status of the loan. The representative with whom

she spoke advised her that any-payments she tried to make would be intercepted by Cash

Managernent Departnient and returned Defendant PHH representative advised that she
would escalate the case to her supervisor, and Piaintiff informed her that escalation had
proven useless in the pa.st.

28. On Deceinher 20, 2010, Plaintift` again contacted Defendant PHH and was told by the
representative with whom she spoke that Det`endant PHH just had to reprint the
Modiiieation documents with new dates, and that the representative would escalate her
matter to the closing department When Plaintii"i" asked to continue sending paynrents,
she was informed that the payments would simply be returned The representative told
Plaintiff that she should look for her reprinted documents in seven days

29. Plaintii:`f called on Deeernber 23, 2010, and was again told that the representative with l

whom she spoke could not assist her, but that her matter would be escalated.

30. By February cf 2011, Plaintiff was receiving collection calls from third party collection

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agencies regarding her account

Aiter Plaintiff‘s further fruitless efforts in communicating with Defendant PI~E[H to
determine why her payments were no longer being accepted, Plaintiff contacted the
l\/iaking Home Af.fordable Help Desk, a department of the federal government’s
consumer protection agency which was under the supervision of the Department cf
'l`reasury and the Depaitment of Hottsing and Urban Development (“MHA Help”).

On Febi.uary 7, 2011, Plaintiff participated in a 90 minute conference call with befendatrt
PHH and a MHA lielp representative by the name of Angela Usturoi. After being put on
hold for 15 minutes while Defendant PHH‘s representative searched for a representative,
the supervisor, who Plaintiff believes was named_l\/Is. l-la:rris, finally joined the call but
the line Was dropped prior to any discussions taking place.

MI~IA I-Ielp representatives indicated to Plaintiff that they were escalating matter and
informed Plaintiff that Defendant PHH would have to respond to Ml-IA Ia`telp’s inquiries
into the matter within 30 days _

Plaintiff contacted MHA I~Ielp on Febmary 16th, 213c and 23"d, 2011, but Defendant PHH
had still not submitted a response to IviHA tie“lp‘s inquiries into the status of the
Modiiication.

in l\/Iarch 2011, MHA I~lelp representatives indicated to Plaintiff that they had twice
submitted her case to the United States Treasury Department.

The matter was ultimately referred to .Defendants lviR and PS for foreclostu'e, despite the

fact that Plaintii`f had made timely payments pursuant to the l\/Iodii'ication.

37. On March 28, 2011, Plaintiff hand-delivered to Defendant MR and Defendant PS copies

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of ali of her documentation in order to demonstrate to them the issues which continued to
exist around who Was the rightful title-holder of the property, and to have the property
removed from its scheduled sale on May 3, 2011. Neither Defendant MR nor Defendant
PS responded to Plaintiff’ s in-person requestl

By correspondence dated April 8, 2011 and April ll, 2011, Plaintifi’s counsel set forth
Plaintiff’s concerns to Defendants PS and MR and requested a postponement of the May
3, 2011 foreclosure date. By electronic mail correspondence dated April 14, 2011 and
received at 10:07 AM, an attorney for Defendant MR generally indicated that the
foreclosure sale date would not be postponed

COUNT ONE - TITLE TO LAND (Ouia Timel‘)

Plaintiff re-alleges and incorporates by reference paragraphs 1-38 above as if fully set
forth in this Count.

O.C.G.A. § 23-3-40 provides that “The proceeding quia timet is sustained in equity for
the purpose of causing to be delivered and canceled any instrument which has answered
the object of its creation or any forged or other iniquitous deed or other writing which,
though not enforced at the time, either casts a cloud over the complaint’s title or
otherwise subjects him to future liability or present annoyanoe, and the cancellation of
which is necessary to his perfect protection.”

O.C.G.A. § 23~3-4] states: “[i]n all proceedings quia timet or proceedings to remove
clouds upon titles to real estate, if a proper case is made, the relief sought shall be granted

to any complainant irrespective of whether the invalidity of the instrument sought to be

canceled appears upon the face of the instrument or whether the invalidity appears or
arises .s'olclyji“omfact.r outside ofth iastramenz‘,” (emphasis added)

42. O.C.G.A. § 23-3-42 provides that “[a]n instrument which, by itself or in connection with
proof of possession by a fenner occupant or other extrinsic facts', gives the claimant
thereunder an apparent right in or to the property may constitute a cloud on the title of the
true owner; and the latter may proceed to have the same removed upon proof;

(l) That he cannot immediately or effectually maintain or protect his rights by any other
course of proceeding open to him',

(2) That the instrument sought to be canceled is such as would operate to throw a cloud
cr suspicion upon his title and might be vexatiously or injuriously used against him;

(3) That he either suffers some present injury by reason of the hostile claim of right, or

` though the claim has not been asserted adversely or aggressively, he has reason to

apprehend that the evidence upon Which he relies to impeach or invalidate the same
as a claim upon his title may be lost or impaired by lapse oftime.

43. Plaintifi" contends that eince Defendant PHH has not obtained a Deed Under Power of
Sale and that she has possession of the Property, she still has rights to the Property.

44, Plaintiff further alleges that, Defendants’ actions moving forward vvith the May 3, 2011
foreclosure and issue a Deed Under Power to the prevailing bidder, is improper, creates a
cloud upon the titlc, that the Plaintiff cannot immediately or otherwise protect her rights
and obtain a decree in equity canceling title other than through this action and that she
has reason to believe that her rights may be impaired by the lapse cf time.

45. Plainti'i"f contends that based upon the above and foregoing this Court (as court in equity)

Should enter a decree postponing the l\/tay 3, 2011 foreclosure sa.le, setting aside any

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Deed Under Power issued regarding the Property, issuing a decree that the Moditication
is valid and of full effect and/or providing a manner and time in which the Plai.ntiff may

reinstate the l\/loditication.

O,C.G.A, § 23»3-41(b) provides that the costs of this proceeding should be taxed to the

litigants in the discretion cf the Court.

Plaintiff contends that the costs of the proceeding should be taxed to the Defendants.

C‘OUNT TWO - BR.EACI-I OF CONTRACT (DEFENDANT PI-IH)

Plaintift" re~alleges and incorporates by reference paragraphs 1~4'7 above as if fully set
forth in this Count.

Plaintit’f shows this Court that because Defendant PI'II-l, directly and through its agents,
(a.) improperly refused to accept payments under the l\/lodification beginning in
December of 2010, (b) ignored the terms cf the l\/lodification, (c) demanded payments in
accordance with the prior loan agreement which had been amended by the Modificaticn,
and (d) provided misleading statements to Plaintiff regarding the status other account it
breached the explicit provisions of the Moditication.

Furthermore, every contract “implies a covenant of good faith and fair dealing in the
performance of the terms o:["the agreemcnt.” Wireless MD` lnc. v. Healthcare.com Cort).,

271 transp isn 610 s.a. 352 (2005>.

. Plaintiff further shows this Court that implied duty of good faith and fair dealing requires

both parties to a contract to perform their promises and provide such cooperation as is
required for the other party's performance I_hwe,siaba v. Peileti_eij, 214 Ga,App. 721, 448
S.E.Zd 920 (1994-).

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Plai.ntift` shows that the Defendant PHH breached the ivlcdi‘l'ication, a contraet, by failing
to conform With the explicit terms cf the Ivloditication and the implied duty of good faith
and fair dealing

Piaintit`f shows that as a result of the breach of contraci, the Court_ should issue an order

compelling Detendant PHH to specifically perform under the Modification.

COUNT 'I`HREE - PROMISSORY ESTOPPEL (DEFENDANT PHH)

`Plaintit`;i` re-alleges and incorporates by reference paragraphs 1-53 above as if fully set
forth in this Count.

Plaintii"t` shows that, prior to her receipt of Written contirmation from Del`endant PHH, the
Trial Period Was still recognized by both parties as valid simply through Dei"endant
PHH’s cashing of the Trial Perlod required monthly payments

Plaintit`?t` shows that Dcfendant PHH received payments from Piaintifl" in a manner as Was
required under the I\/lodilicat‘ion and continued to cash Plaintif,t’s checks While
simultaneously advising her that she Would receive a signed copy ot` the Moditication and
inferring to her that no further action Was necessary regarding the i\/l`odification.

Even after Plaintiff contacted Dei?endant PHH about the returned I)ecemher payment and
the accomptmying demand i`or $11,373.3] in Det`endant PHI~I’s letter dated Novcmber 30,
2010, Det`endant PHl-l advised Plaintiff to disregard the letter because the account Was

under review

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58. The promises made by Del"endant PHH and the pattern and practice established during

the Trial Plan and Modiiicatlon terms, were such as to cause Det'endant PHH to

reasonably expect or induce action cr inaction on the part of the Plaintifi".

59. Plaintifl" relied to her detriment on the belief that her monthly payment tc Det`endant PHH v

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pursuant to the l\/Iodlfication was sufficient to fulfill her obligations to Defendant Pl~lll

and to allow her to maintain title to the property

. The promises made by Defendant PHH are such as to cause injustice if the promises are

not enforced

Based on the above and fcregoing, the promises to Plainti'ff should be enforced,
specifically, that she would be able to make Modilication payments to Defendant PHH
Without being in default under the prior loan agreement and without being in imminent

danger of foreclosure

COUNT F()UR - `WRONGFUL FORECLOSURE
Plaintifl" rc~alleges and incorporates by reference paragraphs 1~61 above as if hilly set

forth in this Count.

Plaintiff shows that when a power of sale is exercised, the foreclosing party is required to
fairly exercise such power. O.C.G.A, § 23~2-1 l4.

Plaintiff contends that the Det`endants have failed to fairly exercise the power ct sale,
Plaintit`t` shows that the lack of good faith in the process warrants the Ccurt to set aside

the foreclosure

C()UNT FIVE ~ FlRAU.l) (DEFENDA.NT PI~IH)

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66. Plaintiff re~alleges and incorporates by reference paragraphs 1-65 above as if fully set

forth in this Count.

67'. Plaintiff shows that Defendant PHH, directly and through its agents, made
representations to the Plaintiff regarding the status and treatment of the Modii'ication.

68. Plaintiff shows that the representations Were either false when made or were made
Without a present intention to perform under the Moclification.

69. Plaintiff shows that the representations were reasonably relied upon by the Plaintiff, to
her detriment

70. Plaintiff shows that the representations were made with the intent to induce Plaintiff to
refrain from actingl

71. Plaintiff shows that the representations have caused damage to the Plaintiff, including but
not limited to, the costs and expenses of this action the loss of significant time in
attempting to resolve this matter, and other damages which may be evidenced by
Plaintiff.

72. Plaintiff is entitled to recover the damages suffered as a result of the Defendant PHI-I‘s
fraud.

COUNT SIX - ATTORNEY’S FIFLES
73. Plaintiff re~alleges and incorporates by reference paragraphs 1-72 above as if fully set

forth in this Count.

?¢i. Plaintiff shows that the conduct cf the De_fendants, directly and through their agents,
constitutes intentional torts, invoking a specie of bad faith.
75. Plainti:['f further shows that the conduct cf the Defendants was in bad faith, caused the

Plaintift` unnecessary trouble and expenses, and was stubbornly litigious.

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Plaintiff shows that she should recover the reasonable costs of the prosecution of this
action, including attorney’s fees and expenses of litigation

C'OUNT SIEVEN ~» PUNITIVE DAMAGES

Plaintiff re-alleges and incorporates by reference paragraphs 1-76 above as if fully set

forth in this Count.

Plaintiff shows that the conduct of Defendants, directly and through theirlagents, is
reprehensible and shows willful misconduct, malice, fraud, wantonness, oppression, or
that entire want of care Which would raise the presumption of conscious indifference to
consecpuencesl

l)efendants should be penalized, punished and deterred from such conduct in the future

by an award of punitive damages

TEMPORARY RESTRAINING ORDER

P]aintiff re~alleges and incorporates by reference paragraphs 1~79 above as if fully set

forth in this Count.

Plaintiff shows that the Property is currently listed for a May 3, 2011 foreclosure sale by
Defendant l\/IR and there exists a substantial likelihood that Defendant MK will sell the
`i’roperty upon finding a qualified purchaser. A copy of World Wide Web page depicting
the Property listing is attached hereto as Exhibit “I” and incorporated herein by reference
Plaintiff shows that Pla.intiff has put Dcfendant l\/l`.R and Defendant PHH on notice of her
claims to the property on multiple occasions and sought a postponement of the
foreclosure sale date, yet Defendant MR and Defendant PlI-Ii:i have refused to remove the

property from the foreclosure sale until this dispute can be resolved

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Plaintiff’s efforts to provide Defendant MR, Defendant PS, and Defendant PHH with

documentation supporting her position has delayed the filing of this acticn.

84. Plainiiff shows that if the Ccurt does not preserve the status quo, Plaintiff faces a

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substantial likelihood of irreparable hann, specifically that the Defenda:uts will follow
through with the foreclosure sale and thereafter commence eviction proceedings

'l`his Court should exercise its discretion and enter a temporary restraining order
prohibiting any transfer of the Property by the Defendant PHH and Defendant MR. This

injunction should remain in effect through the pendency of the case.

INTERLOCUTORY INJUNCTION

Plaintiff re-aileges and incorporates by reference paragraphs 1~85 above as if fully set

forth in this Count.

Plaintiff shows that the Property is currently listed for sale by Defendant MR and there
exists a substantial likelihood that Defendant MR will sell the Property upon finding a

qualified purchaser.

.Pla.intifi:` shows that if the Court does not preserve the status 'quo, Plaintiff faces a

substantial likelihood of irreparable harm.

. This Ccurt should exercise its discretion and enter an interlocutory injunction prohibiting

any transfer cf the Property by the Defendants. This injunction should remain in effect

through the pendency of the case.

WI:IEREFORE, Plaintifi` prays for the following:

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(1) that the Court take jurisdiction over this matter;

(2) that the appropriate notice and process issue;

(3) that an immediate temporary restraining order be issued to prevent the sale of
the property at the foreclosure sale on May 3, 2011;

(4) that an interlocutory injunction be issued prohibiting transfer of the Property

by the Defendants;

(5) that Plaintiff’ s prayers and counts in equity herein be granted by the Court',

(6) that a jury trial be held on the non-equity matters so triable; and

(7) for such other and further relief as is just and equitable

rha 15th day erapr~a, 201 1.

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usa th;en, siran
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flax (7?0) 4-28~0761

Attorneys for the .Plaintiff

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VERIFICATION
STATE OF GEORGIA

COUNTY OF COBB

Personally appeared before me, an officer duly auth
Dana L. Caselli, who after being duly sown,

foregoing Complaint arc true and correct to the

orized by law to administer oaths,
states that the facts contained in the within and
best of her knowledge information and belief.

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nasa L. cream l '
Affiant

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SUBSRIBED AND SWORN rl`O BEFORE ME, on the [_Ll: day of April, 2011, to certify
which witness my and official seal. j

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